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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JESSICA BLINKHORN,                     )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
PREMIER PLAZA, LLC,                    )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendant PREMIER PLAZA, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff JESSICA BLINKHORN (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

       4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) is disabled

as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant PREMIER PLAZA, LLC (hereinafter “Defendant”) is a

Georgia limited liability company that transacts business in the state of Georgia

and within this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Diana McDonald, 3985 Steve Reynolds Boulevard, Suite

N 101-B, Norcross, Georgia, 30093.

                            FACTUAL ALLEGATIONS

       9.     On or about January 28, 2022, Plaintiff was a customer at “American


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Deli,” a business located at 4869 Covington Hwy, Suite #E, Decatur, Georgia

30035.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately twelve (12) miles from the Facility and

Property.

      12.    Plaintiff’s access to the businesses located at 4869 Covington Hwy,

Decatur, Georgia 30035 (Dekalb County Property Appraiser’s parcel number 15

163 05 047), and/or full and equal enjoyment of the goods, services, foods, drinks,

facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of her disabilities, and she will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The Property lacks an accessible route from the public sidewalk

              to the accessible entrance(s) of the Facility, in violation of

              section 206.2.1 of the 2010 ADAAG standards.

      (ii)    The two accessible parking spaces on the Property and their

              centrally adjacent access aisle are each not adequately marked,

              in violation of sections 502.1 and 502.3 of the 2010 ADAAG

              standards.

      (iii)   The access aisle adjacent to the accessible parking space on the

              Property is not level due to the presence of a ramp within the

              boundaries of said access aisle, in violation of section 502.4 of

              the 2010 ADAAG standards.

      (iv)    The above-described ramp protrudes into the boundaries of the


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       adjacent accessible parking spaces, in violation of section 502.4

       of the 2010 ADAAG standards.

(v)    The above-described ramp on the Property has a running slope

       exceeding 1:12 (one to twelve), in violation of section 405.2 of

       the 2010 ADAAG standards, and the slopes of its side flares are

       each in excess of 1:10 (one to ten), in violation of section 406.3

       of the 2010 ADAAG standards.

(vi)   Further, there is broken pavement and excessive vertical rises at

       the base of the accessible ramp on the Property and at the base

       of its side flares, in violation of section 405.7 of the 2010

       ADAAG standards.

(vii) Due to a lack of parking stops that encourage vehicles to pull

       up far enough to block the accessible route to the entrances of

       the Facility, when vehicles are parked, there are publicly

       accessible areas of the Property having accessible routes with

       clear widths below the minimum 36” (thirty-six inches) inches

       required by section 403.5.1 of the 2010 ADAAG standards

(b)    INTERIOR ELEMENTS:

(i)    The interior of the “American Deli” portion of the Facility lacks


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        restrooms signage that complies with sections 216.8 and 703 of

        the 2010 ADAAG standards.

(ii)    The hardware on the restroom doors in the “American Deli”

        portion of the Facility have operable parts that require tight

        grasping, pinching or twisting of the wrist, in violation of

        section 309.4 of the 2010 ADAAG standards.

(iii)   The restrooms in the “American Deli” portion of the Facility

        have pedestal sinks that provide for inadequate knee and toe

        clearance thereunder, in violation of sections 305, 306 and

        606.2 of the 2010 ADAAG standards.

(iv)    The hand operated flush controls on the commodes in the

        accessible toilet stalls in the restrooms in the “American Deli”

        portion of the Facility are not located on the open side of the

        accessible stalls, in violation of section 604.6 of the 2010

        ADAAG standards.

(v)     The toilet paper dispensers in the restrooms in the “American

        Deli” portion of the Facility are positioned outside the

        permissible reach ranges set forth in section 604.7 of the 2010

        ADAAG standards.


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      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter her vehicle while on the

Property, more difficult and dangerous for Plaintiff to utilize the accessible ramp

on the Property, and more difficult for Plaintiff to utilize all features of the

restroom in the “American Deli” portion of the Facility.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily


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achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to


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grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: February 28, 2022.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
                                      The Law Office of Craig J. Ehrlich, LLC
                                      1123 Zonolite Road, N.E., Suite 7-B
                                      Atlanta, Georgia 30306

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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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